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                                                               November 4, 2022

Via ECF

The Honorable Colleen McMahon
United States District Judge for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007-1312

                 Re:        U.S. v. Allianz Global Investors U.S. LLC, 22 Cr. 00279 (CM)

Dear Judge McMahon:

             We write on behalf of Defendant Allianz Global Investors U.S. LLC
(“AGI US”) in connection with the plea agreement entered in the above-referenced case
on May 17, 2022.

                Pursuant to Exhibit G to the plea agreement, AGI US is required to pay
restitution of $9,361.30 to Christine Schneider. After numerous unsuccessful attempts to
contact Ms. Schneider to pay the required restitution, AGI US discovered through public
records searches that Ms. Schneider is deceased. AGI US therefore requests that the
Court order it to pay the $9,361.30 in restitution that was due to Ms. Schneider to the
Federal Crime Victims Fund, pursuant to 18 U.S.C § 3664(g)(2).

                 The Government consents to this request.

                                                               Respectfully submitted,



                                                               James M. McDonald

Cc:    Nicholas Folly, Esq.
       Margaret Graham, Esq.
       Allison Nichols, Esq.
       (U.S. Attorney’s Office)
